                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                          CASE NO. 3:20-CV-00203-FDW-DCK

 SOUTHEASTERN PUBLIC SAFETY     )
 GROUP INC.,                    )
                                )
           Plaintiff,           )
                                )
   v.                           )                                           ORDER
                                )
 RANDY MUNN, NORTH CAROLINA     )
 CRIMINAL JUSTICE EDUCATION AND )
 TRAINING STANDARDS             )
 COMMISSION, RICHARD SQUIRES,   )
 CHRISTY THAXTON, ADAM TRANUM, )
 CAPITAL SPECIAL POLICE, LLC,   )
                                )
           Defendants.          )
                                )

        THIS MATTER is before the Court upon the Fourth Circuit’s unpublished opinion, (Doc.

No. 66), affirming in part, vacating in part, and remanding for further proceedings this Court’s

Order granting Defendants’ Motions to Dismiss, (Doc. No. 46). The Fourth Circuit affirmed this

Court’s dismissal of Plaintiff’s Complaint against Defendant North Carolina Criminal Justice

Education and Training Standards Commission and against Defendants Randy Munn, Richard

Squires, and Christy Thaxton in their official capacities. (Doc. No. 66, p. 10.) The Fourth Circuit

noted on appeal, Defendants “concede[d]” Plaintiff alleged claims against Munn, Squires, and

Thaxton in their individual capacities, and “recant[ed] their contrary position before the district

court.” (Id., p. 5.) The Fourth Circuit vacated this Court’s judgment that Plaintiff had not sued

Munn, Squires, or Thaxton in their individual capacities and remanded for this Court to evaluate

and “address in the first instance [Plaintiff’s] claims against [Munn, Squires, and Thaxton] in their

individual capacities.” (Id., pp. 3, 5–6.)



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       Pursuant to the mandate of the Fourth Circuit, the Court will review the original pleadings,

including the relevant Motions to Dismiss and the supporting memorandum, responses, and

replies, to consider Plaintiff’s claims against Munn, Squires, and Thaxton in their individual

capacities. The parties are permitted, but not required, to submit supplemental briefs on this issue

no later than Friday, December 6, 2024, not to exceed 3,500 words. Any responses are due no

later than Friday, December 20, 2024, not to exceed 2,500 words. Any replies must be submitted

no later than Friday, January 3, 2025, not to exceed 1,500 words.

       IT IS SO ORDERED.
                                            Signed: November 13, 2024




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